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UNITEI) STATES DISTRIC'I` C()URT
SOUTHERN DISTRICT ()F NEW YORK

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MARY WEST,
on behalf of herself and
all others similarly situated,
Case No.: 1 :15-cv-06080-WI-IP

Plaintii`f,
g STII’ULATION OF VOLUNTARY
V~ ' DISMISSAL PURSUANT TO F.R.C.P.
l
EI~IARMONY, INC., 41(A)(1}(A)(I l
Del"endant,

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STIPULATION OF VOLUN'I`ARY DISMISSAL PURSUANT TO F.R.C.P. 41(3)(1)(A)(ii)

IT IS HEREBY STIPULATED AND AGREED by and between the parties and their
respective counsel that the above»captioned action is voluntarily dismissed, with prej udice, against
the defendant eHarrnony, lnc. pursuant to the Federal Rules of Civil Procedure 4l(a)(l)(A)(ii),
with the parties to bear responsibility for their respectiv - . c fees.

   
   

 

 

)q(iligation Group, PLLC ' )\ ,

C.K. Lee, Esq. oseph Piesco, Esq.

30 East 39th Street, Second Floor 1251 Avenue of the Amei'icas
New York, NY 10016 New Yol'k, NY ]0020
At'torneyfor Mm'y Wes! A!l()i'neyfor eHai'mOi'.{V INC.
Dated: November \_€2, 2015 Datecl: November _, 2015
So Oi'dered:

 

Hon. William H. Pauley, lli, U.S.D.J.

